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1                            UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
2                                        AT SEATTLE
3
4     UNITED STATES OF AMERICA,
                                                            NO. CR12-251TSZ
5                            Plaintiff
6                       v.                                  MODIFIED COMPLEX CASE
                                                            SCHEDULING ORDER
7     ALEXANDER MIHAILOVSKI,

8                            Defendant.
9
            Pursuant to the parties’ motion to modify the court’s complex case scheduling order (Dkt.
10
     No. 28), the Court enters the following modified scheduling order:
11
12
                                          Event                                                Date
13
       Government to provide discovery under Fed. R. Crim. P. 16(a)(1)(A) – (F)
14     and Local CrR 16(a)(1), with continuing obligation as set forth in Rule         March 11, 2016
15     16(c)

16
17     Any motion for change of venue                                                  April 11, 2016
18
19                                                                                     July 28, 2016 at
       Status Conference re: whether trial date and remaining schedule is realistic
                                                                                       1:30 p.m.
20
21     Government to provide expert discovery under Rule 16(a)(1)(G)                   July 29, 2016

22
23     Government’s identification of 404(b) evidence                                  July 29, 2016
24
25     Defendant to provide discovery under Rule 16(b)(1)(A)-(B), and Local
26     CrR 16(a)(2), with continuing obligation as set forth in Rule 16(c);
                                                                                       July 29, 2016
       Defendant to provide notice of alibi defense under Fed. R. Crim. P. 12.1
27     and/or mental health defense under Fed. R. Crim. P. 12.2
28   COMPLEX CASE SCHEDULING ORDER/Mihailovski                                  FEDERAL PUBLIC DEFENDER
                                                                                           OFFICE
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                                                                                1601 FIFTH AVENUE, SUITE 700 S
                                                                                 SEATTLE, WASHINGTON 98101
                                                                                        (206) 553-1100
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1                                         Event                                                 Date
2     Defendant’s Deadline to file substantive Pretrial Motions I (Arising after
      review of discovery such as, Dismissal, Discovery/Brady, Bill of
3     Particulars, Suppression, Severence and the like)                                    August 5, 2016
4     Responses due August 19; Reply briefs due August 26, 2016; Noting Date:
      August 26, 2016
5
      Government to produce all summary exhibits and underlying data under
                                                                                        August 26, 2016
6     Fed. R. Evid. 1006;

7     Defendant to produce all summary exhibits and underlying data under Fed.
                                                                                        August 26, 2016
      R. Evid. 1006
8
9                                                                                       September 9,
      Defendant to provide expert discovery under Rule 16(b)(1)(C)
                                                                                        2016
10    Government to produce witness list and exhibit list related to its case-in-
11    chief; Government to produce Jencks Act, Rule 26.2 and Giglio                     September 16,
      impeachment materials, including information relating to known non-               2016
12    testifying declarants under Fed.R.Evid. 806 (if any)
13                                                                                      September 23,
      Defendant to produce witness list and exhibit list.
                                                                                        2016
14
      Deadline for all pretrial motions
15                                                                                      September 30,
      Responses due October 7, 2016; Reply briefs due October 14, 2016;                 2016
16
      Noting Date: October 14, 2016
17                                                                                      September 30,
      Government to provide rebuttal expert disclosures
                                                                                        2016
18
      File Trial Briefs, Proposed Jury Instructions, Voir Dire and Verdict Form         October 3, 2016
19
      Pretrial conference: Hearing on pretrial motions and motions in limine (if        October 12,
20    necessary)                                                                        2016 at 1:30pm
                                                                                        November 7,
21    Trial (3-4 week jury trial)
                                                                                        2016
22
           DATED this 2nd day of June, 2016.
23
24
25
                                                            A
                                                            Thomas S. Zilly
26                                                          United States District Judge
27
28   COMPLEX CASE SCHEDULING ORDER/Mihailovski                                   FEDERAL PUBLIC DEFENDER
                                                                                            OFFICE
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                                                                                         (206) 553-1100
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 1
 2 Presented by:
 3 /s/Norman M. Barbosa
 4 NORMAN M. BARBOSA
     Assistant United States Attorney
 5
 6
 7 Agreed, Approved for Entry,
     Notice of Presentation Waived
 8
 9
   By: s/ Mohammad Ali Hamoudi
10 MOHAMMAD ALI HAMOUDI
   Attorney for Defendant Alexander Mihailovski
11
12
     s/ Jennifer E. Wellman
13 JENNIFER E. WELLMAN
     Attorney for Defendant Alexander Mihailovski
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28   COMPLEX CASE SCHEDULING ORDER/Mihailovski                          FEDERAL PUBLIC DEFENDER
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